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                                   Attorneys for Defendants
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                                The Goldman Sachs Group, Inc.
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